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Q.Elnited States Tnurt of ?\ppeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

 

No. 18-3037 September Term, 2017
FILED oN; JULY 31, 2018
UNITED STATES OF AMERICA,
APPELLEE
V.

PAUL JoHN MANAFORT, JR.,
APPELLANT

On Appeal of a Pretrial Detention Order
(No. l:l7-cr-00201-l)

 

Before: TATEL, GRIFFITH and WILKINS, Circuit Judges
J U D G M E N T
This cause came on to be heard on the record from the United States District Court for the
District of Colurnbia and on the memoranda of law and fact of the parties. On consideration thereof,
it is

ORDERED and ADJUDGED that the District Court’s detention order appealed from in this
cause be affirrned, in accordance With the opinion of the court filed herein this date.

M

FOR THE COURT:
Mark J. Langer, Clerk

BY: /s/
Ken Meadows
Deputy Clerk
Date: July 31, 2018

Opinion for the court filed by Circuit Judge Wilkins.

